

Doumbia v Bamba (2023 NY Slip Op 00810)





Doumbia v Bamba


2023 NY Slip Op 00810


Decided on February 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 14, 2023

Before: Acosta, P.J., Webber, Friedman, Kennedy, Higgitt, JJ. 


Index No. 4487/21 Appeal No. 17330 Case No. 2022-00981 

[*1]Sidi Doumbia, Plaintiff-Appellant,
vFatou Bamba, Defendant-Respondent.


Sidi Doumbia, appellant, pro se.
Fatou Bamba, respondent, pro se.



Order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered on or about December 15, 2021, which, to the extent appealed from as limited by the briefs, denied pro se plaintiff's order to show cause seeking damages, unanimously affirmed, without costs.
The papers submitted to the court failed to establish plaintiff's entitlement to compensatory or punitive damages. The papers were lacking a complete set of the pleadings (Uniform Rules for Trial Cts. [22 NYCRR] § 202.8-a[a]) and, insofar as submitted, they raise factual issues as to whether plaintiff was the initial aggressor in the physical altercation and the extent of his injuries.
The court properly declined to convert the motion to one for summary judgment as to liability because that relief was not sought by plaintiff in his papers (see Albert G. 
Ruben &amp; Co. v Fritzen , 101 AD2d 795, 796 [1st Dept 1984]). In any event, issues of fact preclude summary judgment on liability.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 14, 2023








